      Case 8-18-72747-las       Doc 24     Filed 08/30/18    Entered 08/30/18 11:15:44
                                                          tmd3574/mrm
 UNITED STATES BANKRUPTCY COURT                           September 20, 2018
 EASTERN DISTRICT OF NEW YORK                             10:30 AM
 ==================================X
 IN RE:                                                   Case No. 818-72747-LAS

 RODNEY MCTOOTLE,                                         Hon. LOUIS A. SCARCELLA

                                                          NOTICE OF MOTION
                  Debtor.
 ==================================X


               PLEASE TAKE NOTICE, that upon the within application, Marianne DeRosa,
Chapter 13 Trustee will move this court before the Hon. Louis A. Scarcella, U.S. Bankruptcy
Judge, at the United States Bankruptcy Court, at 290 Federal Plaza, Room 963, Central Islip,
New York, 11722, on September 20, 2018 at 10:30 AM or as soon thereafter as counsel can be
heard, for an order pursuant to 11 U.S.C. 1307(c) dismissing this Chapter 13 case and for such
other and further relief as may seem just and proper.
                Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) business days prior to the
hearing date set forth above. Any responsive papers shall be in conformity with the Federal Rules
of Civil Procedure and indicate the entity submitting the response, the nature of the response and
the basis of the response.

Date: Jericho, New York
      August 30, 2018

                                                    /s/ Marianne DeRosa
                                                    MARIANNE DeROSA, TRUSTEE
                                                    125 JERICHO TURNPIKE; STE 105
                                                    JERICHO, NY 11753
                                                    (516) 622-1340
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 IN RE:                                                      Case No: 818-72747-LAS

 RODNEY MCTOOTLE,                                            Hon. LOUIS A. SCARCELLA

                                                              APPLICATION
                  Debtor.
 ==================================X


TO THE HONORABLE LOUIS A. SCARCELLA U.S. BANKRUPTCY JUDGE:

       MARIANNE DEROSA, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on April 23,
2018, and, thereafter, MARIANNE DEROSA was duly appointed and qualified as Trustee.

       2.     The Debtor’s proposed Chapter 13 Plan (hereinafter referred to as “the Plan”) is
dated June 4, 2018 and reflected on the Court’s docket as number 16. The Plan provides for
payments in the amount of $5,047.23 per month for a period of 60 months.

       3.      The Plan also provides that the Debtor’s mortage arrears owed to Shellpoint, with
respect to the real property located at 421 Holly Place, West Hempstead, NY will be capitalized
pursuant to a loan modification.

       4.      As of the date of this application, the Debtor has not filed a request to enter into
the Court’s Loss Mitigation Program.

       5.     The Trustee objects to the confirmation of the Plan because the Plan is not
adequately funded to provide for full repayment to all secured creditors as required by 11 U.S.C
§ 1325(a)(5).

       6.      Furthermore, the Debtor has failed to:

       a. provide the Trustee with a copy of an affidavit by the debtor stating whether the debtor
       has filed all applicable federal, state, and local tax returns as required by Bankruptcy Code
       §1308 pursuant to E.D.N.Y. LBR 2003-1(b)(iii); and

       b. provide the Trustee with a copy of an affidavit by the debtor stating whether the debtor
       either has paid all amounts that are required to be paid under a domestic support
       obligation and that first came payable after the date of the filing of the petition if the debtor
       is required by a judicial or administrative order or by statute to pay such domestic support
       obligation; or that the debtor has no domestic support obligations as required by E.D.N.Y.
       LBR 2003-1(b)(ii); and

       c. comply with 11 U.S.C § 1325(a)(6) in that the Debtor has failed to submit timely Chapter
       13 Plan payments to the Trustee; and

       d. provide the Trustee with copies of canceled checks, receipts, money orders or other
       documentation of payment of all mortgage installments and real property lease payments
       that have come due since the filing of the petition as required by E.D.N.Y. LBR 2003-
       1(a)(vi) and E.D.N.Y. LBR 2003-1(b)(i); and
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       e. provide the Trustee with a copy of a federal income tax return or transcript for the
       most recent year, 7 days before first meeting of creditors pursuant to 11 U.S.C.
       §521(e)(2)(A)(i); and

       f. provide the Trustee with all disclosure documentation as required by E.D.N.Y LBR 2003-
       1; and

       g. serve the plan on the trustee and all creditors within 7 days of filing of the plan and file
       proof of service there of as required by E.D.N.Y. LBR 3015-1(a).

       7.      The Debtor’s failure to provide these items impedes the Trustee’s ability to
administer this case and, therefore, is a default that is prejudicial to the rights of the creditors of
the Debtor pursuant to 11 U.S.C. §1307(c)(1).

      8.      Each of the foregoing constitutes cause to dismiss this Chapter 13 case within
meaning of 11 U.S.C. §1307(c).

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order dismissing this Chapter 13 case and for such other and further relief as may seem just and
proper.

Dated: Jericho, New York
       August 30, 2018
                                                               s/Marianne DeRosa
                                                               Marianne DeRosa
                                                               Chapter 13 Trustee
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 818-72747-LAS
IN RE:

 RODNEY MCTOOTLE,

                                                                        CERTIFICATE OF SERVICE
                                                                             BY MAIL
                                       Debtor.
-----------------------------------------------------------X

               This is to certify that I, Matthew R. Matz, have this day served a true, accurate and
correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

RODNEY MCTOOTLE
421 HOLLY PLACE WEST
WEST HEMPSTEAD, NY 11552

ANTHONY M. VASSALO, ESQ.
LAW OFFICE OF ANTHONY M. VASSALO
305 FIFTH AVE, STE 1B
BROOKLYN, NY 11215

BETHPAGE FEDERAL CREDIT UNION
C/O RIVKIN RADLER LLP
926 RXR PLAZA
UNIONDALE, NY 11556

RUSHMORE LOAN MANAGEMENT SERVICES, LLC
GROSS POLOWY, LLC
1775 WEHRLE DRIVE, SUITE 100
WILLIAMSVILLE, NY 14221

THE BANK OF NEW YORK MELLON
PINCUS LAW GROUP, PLLC
425 RXR PLAZA
UNIONDALE, NY 11556

This August 30, 2018


/s/Matthew R. Matz
Matthew R. Matz, Paralegal
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
125 Jericho Turnpike; Suite 105
Jericho, NY 11753
(516) 622-1340
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CASE NO: 818-72747-LAS
Hon. LOUIS A. SCARCELLA

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

RODNEY MCTOOTLE,


                  Debtor.
=======================================================================

            NOTICE OF MOTION AND APPLICATION TO DISMISS CASE

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                        MARIANNE DeROSA, TRUSTEE
                      125 JERICHO TURNPIKE; SUITE 105
                             JERICHO, NY 11753
                               (516) 622-1340
